    Case 3:16-cr-00148-TBR Document 73 Filed 09/28/18 Page 1 of 15 PageID #: 395




                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF KENTUCKY
                                     AT LOUISVILLE


COURT NO. 3:16-CR-148-1-TBR                                              ELECTRONICALLY FILED


UNITED STATES OF AMERICA                                                                       PLAINTIFF


vs.


ELIAS ESTEPHANE                                                                            DEFENDANT


and


PNC BANK NA
and its successors and assigns                                                              GARNISHEE


            APPLICATION FOR WRIT OF CONTINUING GARNISHMENT


         The United States of America, plaintiff, requests that this Court issue a

Writ of Continuing Garnishment against the substantial nonexempt property of

the Defendant Elias Estephane, pursuant to 28 U.S.C. § 3205 and 18 U.S.C. §

3613(a):

         The judgment debtor is Elias Estephane. The judgment debtor’s social

security number is ***-**-8862. The judgment debtor’s last known address is

Louisville, KY 40241. 1




1The defendant’s social security number and street address have been redacted in accordance with the Eastern
and Western Districts of Kentucky Notice of Electronic Availability of Criminal Case File Information, dated
October 27, 2004.
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      On February 13, 2018, the defendant was sentenced in the above-styled

case requiring the defendant to pay $545,100.00, as a result of defendant’s

violation of federal criminal law.

      The sum of $25.00 has been credited to the judgment debt, leaving a total

balance due in the amount of $545,075.00.

      Not less than 30 days has lapsed since demand on the debtor for

payment of the debt was made, and the judgment defendant has not paid the

amount due.

      The garnishee is believed to have possession of property (including

nonexempt disposable earnings) in which the debtor has a substantial

nonexempt interest. To the extent the property owed by Garnishee is

wages, this Writ of Continuing Garnishment is intended to compel the

Garnishee to pay to the United States twenty-five percent (25%) of the

disposable earnings of the Defendant, Elias Estephane, pursuant to 28 U.S.C. §

3002(9).

      The name and address of the garnishee or authorized agent is:


PNC Bank NA
Attn: Garnishments
4100 West 150th Street
Loc: B7-YB1701B
Cleveland, OH 44135


      Under the Federal Debt Collection Procedures Act, “if the court

determines that the requirements of [section 3205] are satisfied, the court shall


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issue an appropriate writ of garnishment.” 28 U.S.C. § 3205(c)(1). The

requirements of 28 U.S.C. § 3205 and 18 U.S.C. § 3613(a) are met.

      Wherefore, the United States respectfully requests that the Court issue

the tendered Writ of Continuing Garnishment in accordance with 28 U.S.C.

§ 3205(c)(1).

      Dated: September 28, 2018

                                           Respectfully submitted,

                                           RUSSELL M. COLEMAN
                                           United States Attorney



                                            s/ Jessica R. C. Malloy
                                           Jessica R. C. Malloy
                                           Assistant United States Attorney
                                           717 West Broadway
                                           Louisville, KY 40202
                                           Phone No: (502) 582-5166
                                           Fax No: (502) 625-7110




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                     UNITED STATES DISTRICT COURT
                     WESTERN DISTRICT OF KENTUCKY
                             AT LOUISVILLE


COURT NO. 3:16-CR-148-1-TBR                           ELECTRONICALLY FILED


UNITED STATES OF AMERICA                                              PLAINTIFF


vs.


ELIAS ESTEPHANE                                                    DEFENDANT


and


PNC BANK NA
and its successors and assigns                                      GARNISHEE


                   WRIT OF CONTINUING GARNISHMENT


GREETINGS TO:


PNC Bank NA
Attn: Garnishments
4100 West 150th Street
Loc: B7-YB1701B
Cleveland, OH 44135
(Garnishee)


      Pursuant to the Federal Debt Collection Procedures Act, 28 U.S.C. § 3205

and 18 U.S.C. § 3613(a), the United States having filed an Application for Writ

of Continuing Garnishment against the property of the judgment debtor, Elias

Estephane (hereinafter “debtor”), whose last known address is Louisville, KY
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40241; a criminal judgment having been entered in the above-styled action

requiring the defendant to pay $545,100.00, as a result of defendant’s violation

of federal criminal law; the debtor presently owing the amount of $545,075.00;

and the Application of the United States having met the requirements of 28

U.S.C. § 3205 and 18 U.S.C. § 3613(a);

      YOU ARE HEREBY COMMANDED AS FOLLOWS:

1.    You shall withhold and retain any property (including any wages, monies

      and/or commissions) payable to the debtor, Elias Estephane, in which

      the debtor has a substantial nonexempt interest and for which you are or

      may become indebted to the judgment debtor pending further order of the

      Court. 28 U.S.C. §§ 3002(12), 3014, 3205(c)(2)(F).

2.    You are required by law to answer in writing, under oath, within ten (10)

      days:

      (A)     Whether you the garnishee has custody, control or possession of

              property subject to the writ;

      (B)     A description of such property and the value of such interest;

      (C)     A description of any previous garnishments to which such property

              is subject and the extent to which any remaining property is not

              exempt;

      (D)     The amount of the debt you the garnishee anticipate owing the

              judgment debtor in the future and whether the period for payment

              will be weekly or another specified period. 28 U.S.C. § 3205(c)(4).


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3.   You must file the original written answer to this writ within ten (10) days

     of your receipt of this writ with the United States District Court, Gene

     Snyder Courthouse, 601 W. Broadway, 1st Floor, Louisville, KY 40202.

     YOU MUST ANSWER THE WRIT EVEN IF YOU DO NOT HAVE IN YOUR

     CUSTODY, CONTROL OR POSSESSION ANY PROPERTY OF THE

     DEBTOR. 28 U.S.C. § 3205(c)(4).

4.   You must also serve a copy of your answer to the writ on both the United

     States Attorney’s Office, 717 West Broadway, Louisville, KY 40202; AND

     upon the debtor at the debtor’s last known address.

5.   Pursuant to 15 U.S.C. § 1674, you are prohibited from discharging the

     debtor from employment by reason of the fact that the debtor’s earnings

     are being garnished.

6.   If you fail to answer this writ or withhold property in accordance with this

     writ, the United States of America may petition the Court for an order

     requiring you to appear before the Court. If you fail to appear or if you

     appear and fail to show good cause why you did not comply with this

     writ, the Court may enter a judgment against you for the value of the

     debtor’s nonexempt property. 28 U.S.C. § 3205(c)(6). Additionally, you

     may be held liable for reasonable attorney fees to the United States of

     America. It is unlawful to pay or deliver to the debtor any item

     attached by this writ.




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      Questions are to be directed to counsel for the United States to Jessica

R. C. Malloy, United States Attorney’s Office, 717 West Broadway, Louisville, KY

40202.



______________________________             __________________________________
Date                                       United States District Court
                                           Vanessa L. Armstrong, Clerk


                                           By: _______________________________
                                               Deputy Clerk




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                      UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF KENTUCKY
                              AT LOUISVILLE


COURT NO. 3:16-CR-148-1-TBR                           ELECTRONICALLY FILED


UNITED STATES OF AMERICA                                              PLAINTIFF


vs.


ELIAS ESTEPHANE                                                     DEFENDANT


and


PNC BANK NA
and its successors and assigns                                      GARNISHEE


         CLERK’S NOTICE TO DEBTOR REGARDING GARNISHMENT


       You are hereby notified that property is being taken by the United States

Government, which has a criminal judgment in the above-styled action in the

amount of $545,100.00, as a result of defendant’s violation of federal criminal

law.

       In addition, you are hereby notified that there are exemptions under the

law which may protect some of the property from being taken by the United

States Government if the defendant can show that any of the exemptions apply.

For a summary of the major exemptions which apply in most situations, please

refer to the attached Exemptions Claim Form, which contains a statement
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summarizing the elections available and the types of property that may be

exempted under 18 U.S.C. § 3613(a).

      If you are Elias Estephane, you have a right to ask the court to return

your property to you if you think the property the Government is taking

qualifies under one of the exemptions or if you do not owe the money to the

United States Government that it says you do.

      If you want a hearing, you must notify the court within 20 days after you

receive this notice. You must make your request in writing, and either mail it or

deliver it in person to the Clerk of the Court at United States District Court,

Gene Snyder Courthouse, 601 W. Broadway, 1st Floor, Louisville, KY 40202. If

you wish, you may use the attached Debtor’s Request Regarding Garnishment

and mail this request to the Clerk of the Court. You must also send a copy of

your request to the United States Attorney’s Office, 717 West Broadway,

Louisville, KY 40202, so the Government will know you want a hearing.

      The hearing will take place within 5 days after the Clerk receives your

request, if you ask for it to take place that quickly, or as soon after that as

possible.

      At the hearing you may explain to the judge why you believe the property

the Government has taken is exempt or why you think you do not owe the

money to the Government. If your property has been taken pursuant to a Writ

of Execution, if you do not request a hearing within 20 days of receiving this

notice, your property may be sold at public auction and the payment used

toward the money you owe the Government.
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      If you think you live outside the Federal judicial district in which the

court is located, you may request, not later than 20 days after you receive this

notice, that this proceeding be transferred by the court to the Federal judicial

district in which you reside. If you wish, you may use the attached Debtor’s

Request Regarding Garnishment and mail this request to the Clerk of the Court.

You must make your request in writing, and either mail it or deliver it in person

to the Clerk of the Court at United States District Court, Gene Snyder

Courthouse, 601 W. Broadway, 1st Floor, Louisville, KY 40202. You must also

send a copy of your request to the United States Attorney’s Office, 717 West

Broadway, Louisville, KY 40202, so that the Government will know you want

the proceeding to be transferred.

      Be sure to keep a copy of this notice for your own records. If you have

any questions about your rights or about this procedure, you should contact a

lawyer, an office of public legal assistance, or the Clerk of the Court. The clerk

is not permitted to give legal advice, but can refer you to other sources of

information.




___________________________                  ____________________________________
Date                                         United States District Court
                                             Vanessa L. Armstrong, Clerk


                                             By: ________________________________
                                                 Deputy Clerk


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                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF KENTUCKY
                                   AT LOUISVILLE


COURT NO. 3:16-CR-148-1-TBR                                ELECTRONICALLY FILED


UNITED STATES OF AMERICA                                                   PLAINTIFF


vs.


ELIAS ESTEPHANE                                                          DEFENDANT


and


PNC BANK NA
and its successors and assigns                                           GARNISHEE


          DEBTOR’S REQUEST FOR HEARING REGARDING GARNISHMENT


[     ]   Request for Hearing:      I request that the Court hold a hearing in this
          matter because:

          [   ]   The property the United States is taking is exempt under an
                  applicable exemption. I have completed the attached Exemptions
                  Claim Form.

          [   ]   The United States has not complied with the following statutory
                  requirement(s) for the issuance of post-judgment remedy granted
                  by the Court:
                  __________________________________________________________________

                  __________________________________________________________________

          [   ]   If the judgment is by default, I do not owe the money which the
                  United States says I owe.
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[   ]   Request for Transfer: I request this proceeding be transferred to the
        district where I reside, which is the ______________________ District of
        _____________________ (name of state). (Do not check this box if you reside
        in the Western District of Kentucky.)


Date: _________________          Signature:

                                 Printed Name:

                                 Street Address:

                                 City:

                                 State:

                                 Zip Code:

                                 Home Phone:

                                 Daytime Phone:

                                 Cell Phone:



RETURN ORIGINAL OF THIS REQUEST TO:

United States District Court
Gene Snyder Courthouse
601 W. Broadway, 1st Floor
Louisville, KY 40202




SEND COPY OF THIS REQUEST TO:

Jessica R. C. Malloy
Assistant United States Attorney
717 West Broadway
Louisville, KY 40202


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                 FEDERAL EXEMPTIONS CLAIM FORM

EXPLANATION: You may elect to exempt certain property from execution by the United States.
18 U.S.C. § 3613(a). You may use the attached Exemptions Claim Form if you intend to claim any
exemptions.

18 U.S.C. § 3613(a), the federal statute governing liens arising from criminal fines
and restitution obligations, generally incorporates the exemptions available to
individual taxpayers under § 6334(1), (2), (3), (4), (5), (6), (7), (8), (10), and (12) of the
Internal Revenue Service Code.

If you choose to claim any of the following exemptions, please complete the attached Exemptions
Claim Form.

1. Wearing apparel and school books. Such items of wearing apparel and such
school books as are necessary for the debtor or for members of his family;

2. Fuel, provisions, furniture, and personal effects. So much of the fuel,
provisions, furniture, and personal effects in the debtor’s household, and of the
arms for personal use, livestock, and poultry of the debtor’s, as does not exceed
$9,380 in value;

3. Books and tools of a trade, business, or profession. So many of the books
and tools necessary for the trade, business, or profession of the debtor as do not
exceed in the aggregate $4,690 in value;

4. Unemployment benefits. Any amount payable to an individual with respect to
his/her unemployment (including any portion thereof payable with respect to
dependents) under an unemployment compensation law of the United States, of
any State, or of the District of Columbia or of the Commonwealth of Puerto Rico.

5. Undelivered mail. Mail, addressed to any person, which has not been
delivered to the addressee.

6. Certain annuity and pension payments. Annuity or pension payments under
the Railroad Retirement Act, benefits under the Railroad Unemployment Insurance
Act, special pension payments received by a person whose name has been entered
on the Army, Navy, Air Force, and Coast Guard Medal of Honor roll (38 U.S.C. §
1562), and annuities based on retired or retainer pay under chapter 73 of Title 10
of the United States Code.

7. Workmen's compensation. Any amount payable with respect to
compensation (including any portion thereof payable with respect to dependents)
under a workmen's compensation law of the United States, any State, the District
of Columbia, or of the Commonwealth of Puerto Rico.

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8. Judgments for support of minor children. If the debtor is required by
judgment of a court of competent jurisdiction, entered prior to the date of levy, to
contribute to the support of his minor children, so much of his salary, wages, or
other income as is necessary to comply with such judgment.

9. Certain service-connected disability payments. Any amount payable to an
individual as a service-connected (within the meaning of section 101(16) of Title 38,
United States Code) disability benefit under (A) subchapter II, III, IV, V or VI of
Chapter 11 of such Title 38 or (B) Chapter 13, 21, 23, 31, 32, 34, 35, 37, or 39 of
such Title 38.

10. Assistance under Job Training Partnership Act. Any amount payable to a
participant under the Job Training Partnership Act (29 U.S.C. § 1501 et seq.) from
funds appropriated pursuant to such Act.

11. Minimum exemptions for wages, salary and other income. The exemptions
under 26 U.S.C. § 6334(a)(9) do not apply in federal; criminal cases. The
exceptions under the Consumer Credit Protection Act, 15 U.S.C. § 1673, for
disposable earnings, automatically apply and do not need to be claimed. The
aggregate disposable earnings of an individual for any work week which is
subjected to garnishment may not exceed (1) 25% of his/her disposable earnings
for that week, or (2) the amount by which his/her disposable earnings for that
week exceed thirty times the Federal minimum hourly wage in effect at the time the
earnings are payable, whichever is less.

The statements made in this claim regarding exemption entitlement and fair
market value of the property designated are made and declared under penalty of
perjury that they are true and accurate.




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                     EXEMPTIONS CLAIM FORM

United States vs. Elias Estephane
Court No. 3:16-CR-148-1-TBR

I claim the following exemptions:


   Exemption                  Description of Property                  Value of
    Number                                                             Property




The statements made in this Exemptions Claim Form and fair market value of
the property designated are made and declared under penalty of perjury that
they are true and correct.


_____________________________________
Defendant’s Name – Printed or Typed

_____________________________________               ______________________________
Defendant’s Signature                               Date
